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 1 Jeffrey L. Hartman, Esq.            Michael S. Budwick, Esq. # 938777 - Admitted Pro Hac Vice
   Nevada Bar No. 1607                 Solomon B. Genet, Esq. #617911 - Admitted Pro Hac Vice
 2 HARTMAN & HARTMAN                   Gil Ben-Ezra, Esq. #118089 - Admitted Pro Hac Vice
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   Reno, NV 89509                      mbudwick@melandbudwick.com
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   F: (775) 324-1818                   gbenezra@melandbudwick.com
 5 notices@bankruptcyreno.com          abrody@melandbudwick.com
 6                                     MELAND BUDWICK, P.A.
                                       3200 Southeast Financial Center
 7                                     200 South Biscayne Boulevard
                                       Miami, Florida 33131
 8                                     T: (305) 358-6363
 9                                     F: (305) 358-1221

10 Attorneys for Christina Lovato, Chapter 7 Trustee
11
12                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
13
     In re
14
15   DOUBLE JUMP, INC.                                   Lead Case No.: BK-19-50102-gs
                                                         (Chapter 7)
16              Debtor.
                                                         Substantively consolidated with:
17
18    X Affects DC Solar Solutions, Inc.                  19-50130-gs    DC Solar Solutions, Inc.
      X Affects DC Solar Distribution, Inc.               19-50131-gs    DC Solar Distribution, Inc.
19    X Affects DC Solar Freedom, Inc.                    19-50135-gs    DC Solar Freedom, Inc.
20    X Affects Double Jump, Inc.
                                                         NOTICE OF ISSUANCE OF SUBPOENA
21                                                       TO PRODUCE DOCUMENTS TO ARI
                                                         LAUER
22
23
             TO: ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
24
25           PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 45(a)(4), Meland Budwick,
26   P.A., attorneys for Christina Lovato, the duly appointed and acting chapter 7 trustee (“Trustee”),
27   intends to serve a Subpoena to Produce Documents, Information, or Objects or to Permit
28



                                                     1
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 1   Inspection of Premises in a Bankruptcy Case (or Adversary Proceeding) on Ari Lauer in the form
 2   attached as Exhibit 1.
 3          Dated: October 13, 2021.
 4                                              /s/ Alexander E. Brody
 5                                              Alexander E. Brody, Esq., Attorney for
                                                Christina Lovato, Trustee
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 1                                  CERTIFICATE OF SERVICE
 2           I certify that on October 13, 2021, I caused to be served the above-named document as
 3   indicated below:
             ✔ a. Via Email on Eugene Illovsky, Esq., at eugene@boersch-illovsky.com;
 4           ✔ b. Via ECF to upon the parties listed on the attached Exhibit 2; and
 5           ✔ b. Via Direct Email to the following parties:

 6                 mara@bayareadrainage.com;
                   taxinfo@tax.cccounty.us;
 7                 deboltcivil@earthlink.net;
                   jqyu1089@yahoo.com;
 8                 lesterray420@gmail.com;
                   rbpainting66@yahoo.com;
 9                 cromero@sfandb.com;
                   ins@stillwater.com;
10                 billing.help@iag.com;
11                 harry.placenti@us.army.mil;
                   21techlife@gmail.com;
12                 waterbilling@cityofmartinez.org;
                   fredsfloorcovering@gmail.com;
13                 ctrent@msconstruction.com;
                   taxcollector@countyofnapa.org;
14                 mail@nativesonslandscaping.com;
                   shaunrang@sbcglobal.net;
15                 ttccc@solanocounty.com;
                   rcoff@orkin.com;
16                 pacific_coast_wp@att.net;
                   dbg@crsrealestate.com;
17                 ar@alpinepowersystems.com;
                   billing@kmhsystems.com;
18                 ca@ahern.com;
                   jansen.carl9@gmail.com;
19                 pmaddox@iscmotorsports.com;
                   erossi@cedantioch.com;
20                 rachel.larrenaga@chargepoint.com;
21                 jworthen@ganassi.com;
                   tbgna@exide.com;
22                 dcook@kansasspeedway.com;
                   jfarris@ejmjets.com;
23                 troyv@pacificmetalfab.net;
                   chassen@richmondraceway.com;
24                 erivera@talladegasuperspeedway.com;
                   mquall@quallcardot.com; ben.nelson@wexinc.com;
25
            I declare under penalty of perjury that the foregoing is true and correct.
26
            DATED: October 13, 2021.
27
                                                 /s/ Alexander E. Brody
28                                               Alexander E. Brody, Esq.



                                                    3
                         Case 19-50102-gs                 Doc 2899           Entered 10/13/21 13:22:01                     Page 4 of 17
  B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case of Adversary Proceeding (12/15)

                                      UNITED STATES BANKRUPTCY COURT
                                                                     District of Nevada
             In re
                                                                                    Lead Case No.: BK-19-50102-gs
             DOUBLE JUMP, INC.                                                      (Chapter 7)
                             Debtor.                                                Substantively consolidated with:
                                                                                     19-50130-gs           DC Solar Solutions, Inc.
                                                                                     19-50131-gs           DC Solar Distribution, Inc.
               X Affects DC Solar Solutions, Inc.
                                                                                     19-50135-gs           DC Solar Freedom, Inc.
               X Affects DC Solar Distribution, Inc.
               X Affects DC Solar Freedom, Inc.
               X Affects Double Jump, Inc.

           SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
           INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

            Ari Lauer
            c/o Eugene Illovsky, Esq.
            Boersch & Illovsky LLP
            1611 Telegraph Avenue, Suite 806
            Oakland, CA 94612

             7 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
             following documents, electronically stored information, or objects, and to permit inspection, copying, testing,
             or sampling of the material: See attached Exhibit A.

             PLACE:                                                                     DATE AND TIME:
             Meland Budwick, P.A.
             200 S. Biscayne Blvd., Suite 3200                                          October 27, 2021 at 10:00 a.m. (ET)
             Miami, FL 33131
                  Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land or
             other property possessed or controlled by you at the time, date, location set forth below, so that the requesting
             party may inspect, measure, survey, photograph, test, or sample the property or any designated object or
             operation on it.
             PLACE:                                                                     DATE AND TIME:


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached –
Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e)
and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

         Date: October 13, 2021.                    CLERK OF COURT                                      OR

                                                    __________________________                          s/ Alexander E. Brody
                                                    Signature of Clerk of Deputy Clerk                  Attorney’s signature

The name, address, email address, and telephone number of the attorney representing Christina Lovato, Chapter 7 Trustee, who issues or
requests this subpoena, is: Alexander E. Brody, Esquire, Florida Bar No. 1025332, abrody@melandbudwick.com MELAND
BUDWICK, P.A., 3200 Southeast Financial Center, 200 South Biscayne Boulevard, Miami, Florida 33131, Telephone: (305) 358-
6363, Telecopy: (305) 358-1221.




                                             Notice to the person who issues or requests this subpoena                           EXHIBIT 1
                   Case 19-50102-gs
If this subpoena commands                       Doc 2899
                             the production of documents,       Enteredstored
                                                           electronically 10/13/21    13:22:01
                                                                               information,           Page
                                                                                            or tangible things,5orofthe
                                                                                                                      17inspection
of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).


                                                       PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any):
on (date)             .



7 I served the subpoena by delivering a copy to the named person as follows:
VIA EMAIL
Eugene Illovsky, Esq.
Boersch & Illovsky LLP
1611 Telegraph Avenue, Suite 806
Oakland, CA 94612
eugene@boersch-illovsky.com


   I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $_____________.

         I declare under penalty of perjury that this information is true and correct.

Date: October 13, 2021.
                                                                                      s/ Alexander E. Brody
                                                                                            Server’s signature
                                                                                   Alexander E. Brody, Attorney
                                                                                          Printed name and title
                                                                          200 S. Biscyane Blvd., Suite 3200, Miami, FL 33131
                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
                        Case 19-50102-gs                   Doc 2899              Entered 10/13/21 13:22:01                Page 6 of 17

                             Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.                                information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to                 responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to              26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an                        (i) expressly make the claim; and
order compelling production or inspection.                                                     (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                              EXHIBIT A

                            DEFINITIONS AND INSTRUCTIONS

       1.      All references to any Person (as defined below) shall have the broadest possible

interpretation, including all persons and entities, and includes his/her/its employees, agents,

servants, subsidiaries, parent company, affiliated company and any other person or entity or

Representative (as defined below) acting or purporting to act on behalf or under his/her control.

       2.      All references to the singular include the plural, and vice versa.

       3.      “Debtors” shall mean those certain debtors in bankruptcy in the Bankruptcy Case,

including but not limited to Double Jump, Inc., DC Solar Solutions, Inc., DC Solar Distribution,

Inc. and DC Solar Freedom, Inc., and their agents, representatives and professionals including

but not limited to Jeff Carpoff, Paulette Carpoff, You in Your capacity as Debtors’ counsel,

Barry Hacker, Ronald Roach and Robert Karmann.

       4.      “Bankruptcy Case” shall mean the following lead case and all jointly

administered cases: In re Double Jump, Inc., Case No. BK-N-19-50102 (Bankr. D. Nev.).

       5.      “Communication” means any oral or written statement, dialogue, colloquy,

discussion or conversation, and includes any transfer of thoughts or ideas or data or information,

between persons or locations by means of any Documents or by any other means, including but

not limited to electronic or similar means.

       6.      “Control” means in Your possession, custody or control or under Your direction,

and includes in the possession, custody or control of those under the direction of You or Your

employees, subordinates, counsel, accountant, consultant, expert, parent or affiliated corporation,

and any person purporting to act on Your behalf.
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       7.      “Document” means any written or graphic matter and other means of preserving

thought or expression and all tangible things from which information can be processed or

transcribed, including the originals and all non-identical copies, whether different from the

original by reason of any notation made on such copy or otherwise, including, but not limited to,

correspondence, emails, memoranda, notes, messages, letters, telegrams, teletype, telefax,

bulletins, meetings or other communications, inter-office and intra-office telephone calls, diaries,

chronological data, minutes, books, reports, studies, summaries, pamphlets, bulletins, printed

matter, charts, ledgers, invoices, worksheets, receipts, returns, computer printouts, prospectuses,

financial statements, schedules, affidavits, contracts, canceled checks, statements, transcripts,

statistics, surveys, magazine or newspaper articles, releases (and any and all drafts, alterations or

modifications, changes and amendments of any of the foregoing), graphic or aural records or

representations of any kind (including without limitation, photographs, microfiche, microfilm,

videotape, records and motion pictures) and electronic, mechanical or electric records or

representations of any kind (including without limitation, tapes, cassettes, discs and records).

For the avoidance of doubt, Document includes but is not limited to all Communications.

       8.      The terms “Related to”, “Relate to”, or “Relating to” shall mean directly or

indirectly, refer to, reflect, describe, pertain to, arise out of or in connection with, or in any way

legally, logically, or factually be connected with the matter discussed.

       9.      “Representative” means any and all agents, employees, servants, officers,

directors, attorneys, or other persons acting or purporting to act on behalf of the person

in question.
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       10.      The words “and” and “or” as used herein shall be construed either disjunctively

or conjunctively as required by the context to bring within the scope of these Requested

Documents any answer that might be deemed outside their scope by another construction.

       11.      “You” or “Your” refers to Ari Lauer including his employees, agents, servants,

and other persons acting or purporting to act on his behalf, including his Representative (as

defined above).

       12.        “Funds” refers to:

             a. Solar Eclipse Investment Fund, LLC;
             b. Solar Eclipse Investment Fund III, LLC;
             c. Solar Eclipse Investment Fund IV, LLC
             d. Solar Eclipse Investment Fund V, LLC;
             e. Solar Eclipse Investment Fund VI, LLC;
             f. Solar Eclipse Investment Fund VII, LLC;
             g. Solar Eclipse Investment Fund VIII, LLC;
             h. Solar Eclipse Investment Fund IX, LLC;
             i. Solar Eclipse Investment Fund X, LLC;
             j. Solar Eclipse Investment Fund XI, LLC;
             k. Solar Eclipse Investment Fund XII, LLC;
             l. Solar Eclipse Investment Fund XIII, LLC;
             m. Solar Eclipse Investment Fund XIV, LLC;
             n. Solar Eclipse Investment Fund XV, LLC;
             o. Solar Eclipse Investment Fund XVI, LLC;
             p. Solar Eclipse Investment Fund XVII, LLC;
             q. Solar Eclipse Investment Fund XVIII, LLC;
             r. Solar Eclipse Investment Fund XIX, LLC;
             s. Solar Eclipse Investment Fund XX, LLC;
             t. Solar Eclipse Investment Fund XXI, LLC;
             u. Solar Eclipse Investment Fund XXII, LLC;
             v. Solar Eclipse Investment Fund XXIII, LLC;
             w. Solar Eclipse Investment Fund XXIV, LLC;
             x. Solar Eclipse Investment Fund XXV, LLC;
             y. Solar Eclipse Investment Fund XXVI, LLC;
             z. Solar Eclipse Investment Fund XXVII, LLC;
             aa. Solar Eclipse Investment Fund XXVIII, LLC;
             bb. Solar Eclipse Investment Fund XXIX, LLC;
             cc. Solar Eclipse Investment Fund XXX, LLC;
             dd. Solar Eclipse Investment Fund XXXI, LLC;
             ee. Solar Eclipse Investment Fund XXXII, LLC;
             ff. Solar Eclipse Investment Fund XXXIII, LLC;
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           gg. Solar Eclipse Investment Fund XXXIV, LLC;
           hh. Solar Eclipse Investment Fund XXXV, LLC;
           ii. USB DC Solar Fund I, LLC;
           jj. USB DC Solar Fund II, LLC;
           kk. King Solarman (Indion) Fund I, LLC;
           ll. King Solarman (Indion) Fund II, LLC;
           mm. King Solarman (Indion) Fund III, LLC;
           nn. King Solarman (Indion) Fund IV, LLC;
           oo. Site Solar (FedOK) Fund I, LLC; and
           pp. Site Solar (FedOK) Fund II, LLC;

or any other investment fund, joint venture, project, or entity created, established, or used for the

purpose of purchasing mobile solar generators from, or leasing or subleasing mobile solar

generators to, the Debtors.

        13.      When producing the Documents, please keep all Documents segregated by the file

in which the Documents are contained and indicate the name of the file in which the Documents

are contained, and the name of the Documents being produced.

        14.      When producing the required Documents, please produce all other Documents

that are clipped, stapled or otherwise attached to any requested Document.

        15.      In the event such file(s) or Document(s) has (have) been removed, either for the

purpose of this action or for some other purpose, please state the name and address of the person

who removed the file, the title of the file and each subfile, if any, maintained within the file, and

the present location of the file.

        16.      If any Document to be produced has been destroyed or is otherwise incapable of

production, state: (a) the date, place and means of the destruction; (b) the name and address of

each person deciding upon, participating in and having knowledge of the destruction; (c) the

reason for the destruction; and (d) if not destroyed, the reason why the Document is incapable

of production.
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       17.     Each draft, final Document, original, reproduction, and each signed and unsigned

Document and every additional copy of such Document where such copy contains any

commentary, note, notation or other change whatsoever that does not appear on the original or on

the copy of the one Document produced shall be deemed and considered to constitute a separate

Document.

       18.     If any of the Documents encompassed by the attached request for production of

Documents is/are deemed by You to be privileged, furnish all non-privileged Documents and

provide a log outlining all Documents claimed as privileged which includes: (a) the type of

privilege claimed for each Document; (b) a brief description of the Document; (c) the author of

the Document sufficient to identify it; (d) the recipient (if any); (e) the date of the Document.

       19.     When appropriate, the singular form of a word should be interpreted in the plural

as may be necessary to bring within the scope hereof any Documents which might otherwise be

construed to be outside the scope hereof.

       20.     In addition to Documents currently in Your possession, custody or control, You

are to produce all Documents within the scope of these requests that are not currently in Your

possession, custody or control but can be obtained through reasonable effort.

       21.     This request calls for the production of all electronic Documents and

electronically stored information (ESI) responsive to the requests below, including but not

limited to e-mails and any related attachments, electronic files, or other data compilations that

relate to the categories of Documents requested below. Your search for these electronically

stored Documents shall include all of Your computer hard drives, floppy discs, compact discs,

backup and archival tapes, removable media such as zip drives, password protected and

encrypted files, databases, electronic calendars, personal digital assistants, iPhones, smart
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phones, tablets, iPads, proprietary software, and inactive or unused computer disc storage areas.

Unless otherwise specified in a specific request, all ESI shall be produced in the format described

below:

                    Production of Electronically Stored Information (ESI)
                                FORM OF PRODUCTION

            The Trustee requests that all ESI (electronically stored information) be produced as
    single-page Tagged Image File Format (“TIFF” or “.tiff”) images with accompanying load files
    as reflected below:

        ESI is to be produced (printed and loaded) in 300DPI resolution or greater, Group IV
Monochrome Tagged Image File Format (.TIFF or .tiff) files in single-page format, with native
files and word searchable OCR/extracted text (Optical Character Recognized – i.e. searchable
text). Load files will be provided in a Concordance-type (.DAT) format including a separate
load file for loading of OCR/Extracted text files. The text file containing the OCR/Extracted
Text shall be produced in single page format with the name corresponding to its associated
image. It should also be in the same folder as the tiff images. Color pages should be produced as
color JPEG images.

           Redacted Documents shall be produced in 300DPI Group IV Monochrome Tagged

Image File Format (.TIFF or .tiff) files without native files or redacted information. Metadata
for redacted files shall be produced. Metadata which discloses the content of redacted
information may be withheld.

General Deliverable Requirements

         Load File Names: All load files should be named with a consistent naming convention

         Directory Counts: All folders should have a maximum file count of 1,000 files per
          folder


Data Load File

         Load File Type: .DAT
         Header: First line should be a header row identifying the fields contained in the file
         Fields: May contain any number of metadata fields
         Dates: Date Fields should be provided as MM/DD/YYYY
         File Paths: May contain Native or Text File Paths where available*1
         Encoding:


1
    A Native Load File is unnecessary if paths are embedded in the Data Load File.
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                        ASCII
                        Unicode
                        Unicode (Big-Endian)
                        Unicode (UTF-8)

       Delimiters:

               Delimiter      Character ASCII Value
               Comma                    (020)
               Quote          Þ         (254)
               Newline        ®         (174)
               Multi-         ;         (059)
               Value

       Example File:

Image Load File
 Load File Type: .OPT
 Image File Type:
      Black and White: Single Page Group IV TIFF
      Color: JPEG
 File Naming: Image Files should be named to match the Page Identifier
 Fields: Not all of the below fields are required, but each must be represented in the file
       Field               Is Required Details
       ImageID             Yes             Image Page Identifier
       Volume              No              Image Page Identifier
       Image File Path Yes                 Path to the Image File
       Document            Yes             Populated with a Y wherever a new Document
       Break                               begins
       Folder Break        No
       Box Break           No
       PageCount           Yes

   Example File:


Native Files
    Load File Type: .CSV
    File Naming: Native files should be named to match the Document Identifier
    Fields: Document Identifier and Native File Path
    Example File:


Text Files
    Load File Type: No load file required
    Text File Type: Extracted Text or OCR text files at a Document level or Page Level
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    File Naming:
             Document Level Files – Text files should be named to match the Document
     Identifier
             Page Level Files – Text files should be named to match the Page Identifier

       The following fields, including metadata, will be produced: (Metadata is
defined as “unaltered metadata that exists at the time of collection”).
Field                                               Field Description
BEGDOC                                              Beginning Bates or Document id
ENDDOC                                              Ending Bates or Document id
BEGATTACH                                           Beginning Bates or Document id of attachment
ENDATTACH                                           Ending Bates or Document id of attachment
Name                                                Document name
FileTypeDescription                                 Document Type Description
Extension                                           File extension
Author                                              Document author
Custodian Name                                      Custodian (Last, First)
Source                                              Source
DateCreated                                         Date created
DateModified                                        Date Modified
Document Type                                       Document Type
Email Recipient To                                  To (Name + email)
Email Recipient Cc                                  CC (Name + email)
Email Recipient Bcc                                 BCC (Name + email)
Email Sender                                        Sender (Name + email)
Email Sent Time                                     Date email sent (Sort field)
Email Subject                                       Subject of email
MD5Hash                                             Hash_Code
Native Relative Path                                Native link
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                                 DOCUMENTS REQUESTED

       1.      All Documents and Communications, other than privileged communications with

Your personal counsel, Related to the Debtors.

       2.      All Communications between You and each of the Debtors and any of the

Debtors’ representatives and agents, including but not limited to Debtors’ internal and external

professionals such as attorneys, accountants, advisors, and consultants.

       3.      All Documents and Communications Related to Jeff or Paulette Carpoff or any

members of their family.

       4.      All Documents and Communications You produced (i) to any party in any

litigation, court proceeding, or (ii) in response to any subpoena from December 18, 2018 to

present.

       5.      All of the Debtors’ client materials and property, including correspondence,

pleadings, deposition transcripts, experts’ reports and other writings, exhibits, and physical

evidence, whether in tangible, electronic or other form, and other items reasonably necessary to

the Debtors’ representation, whether the Debtors have paid for them or not.
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Mailing Information for Case 19-50102-gs
Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for this case.

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